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                                                         Exhibit A to the Complaint
Location: Fairfield, CT                                                                                IP Address: 32.209.206.179
Total Works Infringed: 27                                                                              ISP: Frontier Communications
 Work         Hash                                         UTC              Site          Published        Registered      Registration
 1            48FC851FEDE158FA68466F2C2EC15D57A24CE18A     02/10/2019       Blacked Raw   06/21/2018       07/26/2018      PA0002112156
                                                           18:23:38
 2            1E30CD089A57F0DDC28EA43870B6C93F25DC8498     10/10/2018       Blacked Raw   09/14/2018       11/01/2018      PA0002143423
                                                           20:26:57
 3            1E5531EA668F7F8218BE20D6D5BF46FAB3DC5E34     10/26/2018       Blacked Raw   08/30/2018       10/16/2018      PA0002127777
                                                           16:34:01
 4            2F83CE09B1F20BE375C20F1028CD3FBEF3813FDE     02/24/2019       Vixen         02/18/2019       03/11/2019      PA0002158598
                                                           14:39:49
 5            35F1FF1A35600AEA1A436340DA1944BD3C3A0D3A     10/10/2018       Blacked Raw   07/26/2018       09/01/2018      PA0002119594
                                                           15:42:12
 6            3C13DFBCED77087173F8CE7A0B2F077D12A321BD     10/10/2018       Vixen         11/20/2017       01/04/2018      PA0002069354
                                                           20:32:43
 7            4670519255EEFD11D8740328CB025AE98351F54C     09/29/2018       Vixen         08/22/2018       09/05/2018      PA0002135676
                                                           15:25:25
 8            50E15D2CBEC667D65E27914E8CD54CFC687BA554     10/23/2018       Vixen         10/11/2018       10/28/2018      PA0002130457
                                                           22:01:03
 9            62C92B416712660F3575F3789860DFDB90A1A4C2     10/10/2018       Vixen         03/20/2018       04/12/2018      PA0002091523
                                                           20:29:52
 10           6368304AC758D02EE749428AC3ED172D336AD275     12/03/2018       Blacked       12/01/2018       01/22/2019      PA0002149844
                                                           23:55:09
 11           654FDEBA4D88249E1F34D0661AB9A548091828CC     10/26/2018       Tushy         08/09/2018       09/05/2018      PA0002135685
                                                           16:21:49
 12           66882F76290D2AB7DD93C95E6BFA4DE73EB4E64F     07/01/2018       Tushy         06/15/2017       07/07/2017      PA0002070815
                                                           15:02:16
 13           69BA9C8EC6B3C2D9FB6CD545B85991237BC901C2     10/10/2018       Blacked Raw   09/09/2018       10/16/2018      PA0002127792
                                                           15:39:49
 14           72555676245CA53C457541455A41821330714A7A     03/23/2019       Blacked       03/11/2019       03/31/2019      PA0002163979
                                                           19:31:39
 15           771BFBA9DA574E9C91CE9B46506ED89362ED6DB7     10/26/2018       Vixen         06/18/2018       07/14/2018      PA0002128072
                                                           16:32:54
 16           83E5CC90978D29577233ED709F7716D44CA1DC25     10/10/2018       Blacked       04/10/2018       05/23/2018      PA0002101304
                                                           20:28:41
 17           8BB074E225C6C871CDBD1831D394E9988502CEBD     10/10/2018       Blacked Raw   10/09/2018       11/01/2018      PA0002143427
                                                           15:37:37
                           Case 3:19-cv-00779 Document 1-1 Filed 05/21/19 Page 2 of 2
Work   Hash                                     UTC          Site          Published    Registered   Registration
18     8F914AD5D985A4614B945A9CBAEA70996038A99E 10/10/2018   Vixen         07/03/2018   07/26/2018   PA0002112153
                                                20:23:11
19     A1D049D475923190FF3A7134A0D2B9F10D62914B 10/10/2018   Vixen         09/26/2018   10/16/2018   PA0002127776
                                                20:39:42
20     A89525172FC31E96791A5091366B3B562DA0B84A 10/10/2018   Blacked Raw   08/15/2018   09/01/2018   PA0002119585
                                                15:49:20
21     AF96EE573EB75078F49ABE87BB1FE91A3F15C177 10/26/2018   Blacked       06/09/2018   07/14/2018   PA0002130453
                                                16:32:19
22     B80966EB25CE62DA272DA719ED0EFEF0C671D237 10/10/2018   Vixen         09/06/2018   11/01/2018   PA0002143433
                                                20:21:36
23     BD854768B2F7F60A088E5A249207DEACEE5A7CD0 03/23/2019   Vixen         02/13/2019   03/11/2019   PA0002158413
                                                19:23:24
24     CF7373B976BF078DBB9CE0871213D8469D84358D 07/01/2018   Tushy         10/03/2017   10/10/2017   PA0002086147
                                                15:00:48
25     D9D453CA10A11F235D92278E4484BBE5A2B5A9F1 10/10/2018   Blacked Raw   06/26/2018   08/07/2018   PA0002131867
                                                15:54:56
26     DBF08487A3D7FE3704DADAB3BEAE6159E4C2DA38 10/26/2018   Tushy         07/10/2018   08/07/2018   PA0002132397
                                                16:22:50
27     FF4587D86491988D7CB446FCDF75037B72B9F677 07/01/2018   Tushy         06/25/2018   08/07/2018   PA0002132395
                                                15:00:19
